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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

LAWRENCE HILL,                                  )
        Petitioner,                             )
vs.                                             )   No. 3:20-CV-1792-M-BH
                                                )
STATE OF TEXAS,                                 )
          Defendant.                            )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge for plain error, I am of the opinion that the Findings and Conclusions of the

Magistrate Judge are correct and they are accepted as the Findings and Conclusions of the Court.

The case will be dismissed by separate judgment for failure to prosecute or follow court orders.

       SIGNED this 6th day of October, 2020.



                                             _________________________________
                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE
